Case 09-10138-MFW Doc 998-1 Filed 06/29/09 Page 1 of 3

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CASE NAME: NORTEL NETWORKS INC. COURTROOM LOCATION: 3
CASE NO.: 09-10138-KG / C09-/0164) DATE: 6/29/09
PLEASE PRINT YOUR NAME OR YOUR APPEARANCE MAY NOT BE CORRECTLY NOTED
NAME LAW FIRM OR COMPANY CLIENT REPRESENTING
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CASE NO.:

NORTEL NETWORKS INC.
09-10138-KG / (09- /0164)

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DATE:

COURTROOM LOCATION: 3

6/29/09

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Court Conference

Calendar Date: [06/29/2009]
Calendar Time: | 09:00 AM

U.S. Bankruptcy Court-Delaware
Confirmed Telephonic Appearance Schedule

Honorable Kevin Gross

Courtroom
Amended Calendar 06/29/2009 05:54 AM

Inc., et al

Communitcations Inc / LIVE

Telephonic

Page# Item# Case Name Case# Proceeding App ID Appearance By Telephone Firm Name Representing
Nortel Networks 09-10138 Hearing 29S Julia Blackwood —_ Bracewell & Giuliani - New York Interested Party, Nortel UK /
Inc., et al . Be P400 LISTEN ONLY
Nortel Networks 09-10138 Hearing @SG® Kathryn A. Coleman G89 Gibson, Dunn & Crutcher Interested Party, Gores
Inc., et al Siemens / LIVE

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Nortel Networks 09-10138 Hearing GEM Stephen Gale ae Bracewell & Giuliani - New York Interested Party, Nortel UK /
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Inc., et al RESTE: LISTEN ONLY
Nortel Networks 09-10138 Hearing @RNEEEM Darryl Laddin za Arnall, Golden & Gregory, LLP Creditor, Verizon
Inc., et al SRS Communications, Inc. / LIVE
Nortel Networks 09-10138 Hearing QUEER TracyC.McGiley a! Tracy McGilley - Client Debtor, Nortel Networks
Inc., et al a6aG3 Inc. / LIVE
Nortel Networks 09-10138 Hearing GSP AnnelicseH.Pak SD Ropes & Gray LLP Interested Party, Silver
Inc., et al BERSTAQ Lake Capital, et al / LISTEN

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Nortel Networks 09-10138 Hearing QD Frank N. White aeaay Armall, Golden & Gregory, LLP Creditor, Verizon
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Serenia Taylor

CourtConfCal2007 Page 1 of 1
